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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                                ANN ARBOR DIVISION

Mark W. Dobronski                         )
                                          )
          Plaintiff,                      )
                                          )       Case No. __________
                                                           21-12549
vs.                                       )
                                          )
AT&T Corp. and DIRECTV, LLC,              )
                                          )
          Defendants.                     )

                              DEFENDANTS’ NOTICE OF REMOVAL

          PLEASE TAKE NOTICE that Defendants AT&T Corp. and DIRECTV, LLC

(collectively the “Defendants”) hereby remove this action from the Circuit Court for

the 22nd Judicial Circuit of the State of Michigan, County of Washtenaw to the

United States District Court for the Eastern District of Michigan, Ann Arbor

Division, pursuant to 28 U.S.C. §§ 1331, 1367, 1441 and 1446. In support of

removal, Defendants state as follows:

          1.        By complaint dated October 7, 2021, Plaintiff Mark W. Dobronski

(“Dobronski”) purportedly instituted this action against the Defendants. A true and

correct copy of the complaint (“Complaint”) and writ of summons (“Summons”) are

attached hereto as Exhibit A. The Complaint has been assigned docket number 21-

001075-NZ in state court.



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          2.        Defendants first received a copy of the Complaint on October 7, 2021.

As reflected on the cover sheet to Exhibit A, at that time, the Complaint was served

on The Corporation Company in Plymouth, MI.

          3.        No other proceedings have been held in the Circuit Court for

Washtenaw County, Michigan in this action and the Summons and Complaint

constitute all process and pleadings served upon Defendants in this action. No

Defendant has filed a responsive pleading to the Complaint.

          4.        The Complaint asserts claims against the Defendants for allegedly

violating federal law by using automated equipment to place solicitation calls to

Plaintiff Dobronski without his permission and despite him being on the do-not-call

list. Comp. at ¶¶ 49-89. Dobronski alleges that Defendants violated multiple sections

of the federal law that prohibits such conduct, the Telephone Consumer Protection

Act (“TCPA”), 47 U.S.C. § 227, and its implementing regulations. Comp. at ¶¶ 82-

102. The Complaint also alleges similar claims arising under Michigan state law.

Comp. at ¶¶ 103-108.

          5.        Each of the claims arises out of the same basic allegations. Dobronski

alleges that he registered his telephone number on the national do-not-call list.

Comp. at ¶ 29. Despite that, he claims, he received calls that attempted to sell

Defendants’ products while using inaccurate caller ID information. Id. at ¶¶ 49-89.



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Dobronski alleges that the calls continued even after he asked the caller to stop. Id.

at ¶ 32.

          6.        Because Dobronski’s complaint includes a claim against Defendants

under the federal TCPA, this action arises under the “laws . . . of the United States”

over which this Court has original jurisdiction. 28 U.S.C. § 1331. Accordingly, this

action is removable to this Court under 28 U.S.C. § 1441. See Mims v. Arrow Fin.

Servs. LLC, 565 U.S. 368 (2012).

          7.        To the extent that Dobronski asserts claims under Michigan state law,

this Court has supplemental jurisdiction over his claims because such claims are so

related to Dobronski’s federal claim that they are part of the same case or

controversy under Article III of the United States Constitution. 28 U.S.C. § 1367.

Indeed, the state and federal claims both rely on the exact same theory—that

Defendants violated telemarketing requirements by making unauthorized and

inappropriate calls to Dobronski.

          8.        The United States District Court for the Eastern District of Michigan is

a proper venue for removal because it is the federal judicial district in which the

complaint alleges the events and/or conduct giving rise to the claims occurred,

namely Dobronski’s receipt of the calls at issue.1 Additionally, the court where the

state action was brought and is pending is located within the jurisdiction of the


1
    Dobronski alleges he is a resident of Washtenaw County. Complaint at ¶ 2.
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United States District Court for the Eastern District of Michigan, and therefore this

is the proper district court to which the action should be removed.

          9.        All of the defendants are parties to this Notice of Removal.

          10.       Accordingly, pursuant to 28 U.S.C. § 1446(b), this Notice of Removal

is timely and proper because thirty days have not expired since any defendant

received the Complaint and because all defendants have joined in the removal.

          11.       Pursuant to 28 U.S.C. § 1446(d), Defendants have this same date given

written notice of this filing to Dobronski and filed a true and correct copy of a Notice

of Filing of Notice of Removal (“Notice of Filing”) with the Clerk of the Circuit

Court for the State of Michigan, Washtenaw County. A copy of such Notice of Filing

(without attachments) is attached hereto as Exhibit B.

          12.       By removing this matter to this Court, Defendants do not waive their

rights to assert any and all defenses and/or objections in this action, including any

right to assert that courts in the State of Michigan lack jurisdiction over these claims.

          13.       The undersigned is counsel for, and is duly authorized to effect removal

on behalf of, Defendants.

          WHEREFORE, Defendants respectfully request that this action be removed

from the Circuit Court of the 22nd Judicial District of the State of Michigan for the

County of Washtenaw and that this Court take jurisdiction over further proceedings.



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Dated: October 28, 2021                   Respectfully submitted,



                                          By: /s/ Roger P. Meyers
                                          BUSH SEYFERTH PLLC
                                          Roger P Meyers (P73255)
                                          100 W. Big Beaver Rd. Suite 400
                                          Troy, Michigan 48084
                                          (248) 822-7800

                                          Counsel for Defendants




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                              CERTIFICATE OF SERVICE

          I, Roger P. Meyers, certify that on October 28, 2021 I caused a copy of the

foregoing to be served upon the following by email and U.S. mail:


          Mark W. Dobronski
          P.O. Box. 85547
          Westland, MI 48185-0547
          Tel: 734-330-9671
          Email: markdobronski@yahoo.com


                                                       /s/ Roger P. Meyers




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              Exhibit A
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                                                                                                     Service of Process
                                                                                                     Transmittal
                                                                                                     10/07/2021
                                                                                                     CT Log Number 540382122
 TO:         Jill M Calafiore, Rm 3A119A
             AT&T Corp.
             One AT&T Way-
             Bedminster, NJ 07921-

 RE:         Process Served in Michigan

 FOR:        AT&T Corp. (Domestic State: NY)




 ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

 TITLE OF ACTION:                                  MARK W. DOBRONSKI, an individual vs. AT&T CORP.
 DOCUMENT(S) SERVED:                               Summons, Complaint, Verification
 COURT/AGENCY:                                     22nd Circuit Court - Washtenaw County, MI
                                                   Case # 21001075NZ
 NATURE OF ACTION:                                 Violation of the Telephone Consumer Protection Act
 ON WHOM PROCESS WAS SERVED:                       The Corporation Company, Plymouth, MI
 DATE AND HOUR OF SERVICE:                         By Process Server on 10/07/2021 at 14:26
 JURISDICTION SERVED :                             Michigan
 APPEARANCE OR ANSWER DUE:                         Within 21 days after receipt
 ATTORNEY(S) / SENDER(S):                          Mark W. Dobronski
                                                   Post Office Box 85547
                                                   Westland, MI 48185-0547
                                                   734-641-2300
 ACTION ITEMS:                                     CT has retained the current log, Retain Date: 10/08/2021, Expected Purge Date:
                                                   10/18/2021

                                                   Image SOP

                                                   Email Notification, Jill M Calafiore jcalafiore@att.com

 REGISTERED AGENT ADDRESS:                         The Corporation Company
                                                   40600 Ann Arbor Road E
                                                   Suite 201
                                                   Plymouth, MI 48170
                                                   877-564-7529
                                                   MajorAccountTeam2@wolterskluwer.com
 The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
 relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
 of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
 advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
 therein.




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                                                                       Service of Process
                                                                       Transmittal
                                                                       10/07/2021
                                                                       CT Log Number 540382122
 TO:    Jill M Calafiore, Rm 3A119A
        AT&T Corp.
        One AT&T Way-
        Bedminster, NJ 07921-

 RE:    Process Served in Michigan

 FOR:   AT&T Corp. (Domestic State: NY)




 DOCKET HISTORY:

        DOCUMENT(S) SERVED:       DATE AND HOUR OF SERVICE:            TO:                           CT LOG NUMBER:

        Summons, Complaint        By Process Server on 01/21/2021 at   Jill M Calafiore, Rm 3A119A   538925622
                                  11:12                                AT&T Corp.




                                                                       Page 2 of 2 / SH
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                                                              2,   Original - Court                                        2nd copy - Plaintiff
  Approved, SCAO                                                   1st copy - Defendant                                    3rd copy - Return
         STATE OF MICHIGAN                                                                                             CASE NO.
                         JUDICIAL DISTRICT                                                                    21-001075-NZ
              22nd        JUDICIAL CIRCUIT                             SUMMONS
                         COUNTY PROBATE                                                                         J UDGE CAROL KUHNKE
Court address                                                                                                                           Court telephone no.
101 EAST HURON STREET                      ANN ARBOR,MICHIGAN 48104-1446                                                              (734)222-3001
Plaintiff's name(s), address(es), and telephone no(s).                                Defendant's name(s), address(es), and telephone no(s).
MARK W.DOBRONSKI       TEL:(734)330-9671                                              AT&T CORP.
PO BOX 85547                                                                          40600 ANN ARBOR RD E STE 201
WESTLAND,MI 48185-0547                                                                PLYMOUTH,MI 48170-4675
                                                                                          and
                                                                                      DIRECTV,LLC
                                                                                      40600 ANN ARBOR RD E STE 201
Plaintiff's attorney, bar no., address, and telephone no.
                                                                                      PLYMOUTH,MI 48170-4675
PRO SE




Instructions: Check the items below that apply to you and provide any required information. Submit this form to the court clerk along with your complaint and,
if necessary, a case inventory addendum (form MC 21). The summons section will be completed by the court clerk.

Domestic Relations Case
El There are no pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family or
   family members of the person(s) who are the subject of the complaint.
El There is one or more pending or resolved cases within the jurisdiction of the family division of the circuit court involving
   the family or family members of the person(s) who are the subject of the complaint. I have separately filed a completed
   confidential case inventory (form MC 21)listing those cases.
CI It is unknown if there are pending or resolved cases within the jurisdiction of the family division of the circuit court involving
   the family or family members of the person(s) who are the subject of the complaint.

Civil Case
EIThis is a business case in which all or part of the action includes a business or commercial dispute under MCL 600.8035.
LI MDHHS and a contracted health plan may have a right to recover expenses in this case. I certify that notice and a copy of
   the complaint will be provided to MDHHS and (if applicable)the contracted health plan in accordance with MCL 400.106(4).
E There is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the
   complaint.
El A civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has

   been previously filed in         CI this court, C7                                                                                         Court, where

   it was given case number                                            and assigned to Judge

   The action El remains            El is no longer         pending.

Summons section completed by court clerk.                              I SUMMONS

NOTICE TO THE DEFENDANT: In the name of the people of the State of Michigan you are notified:
1. You are being sued.
2. YOU HAVE 21 DAYS after receiving this summons and a copy of the complaint to file a written answer with the court and
   serve a copy on the other party or take other lawful action with the court(28 days if you were served by mail or you were
   served outside this state).
3. If you do not answer or take other action within the time allowed, judgment may be entered against you for the relief
   demanded in the complaint.
4. If you require special accommodations to use the court because of a,4atg- ' .           , uire a foreign language interpreter
                                                                                       pp tpq
   to help you fully participate in court proceedings, please contact thifppitiipiediàt!th t9 make arrangements.
Issue date                           Expiration date*                    Court clerk,.
                                                                                                              rri
                                                     01-05-2022
*This summons is invalid unless served on or before its expiration date. This docume t             led   heltlie4of the court.
                                                                                          0• 4    40..•    r")
MC 01 (9/19)    SUMMONS                                                                  /   • .f
                                                                                                .0
                                                                                                 .%.  .)4 Z-102(B), MCR 2.103, MCR 2.104, MCR 2.105
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                           STATE OF MICHIGAN
           IN THE CIRCUIT COURT FOR THE 22"JUDICIAL CIRCUIT
                          WASHTENAW COUNTY


MARK W.DOBRONSKI,                                   Case No. 21-001075-NZ
an individual,
                                                            JUDGE CAROL KUHNKE
                     Plaintiff,

V.

AT&T CORP.,
a New York corporation; and,

DIRECTV,LLC,
a California limited liability company,

                     Defendants.


Mark W. Dobronski
Post Office Box 85547
Westland, Michigan 48185-0547
Telephone:(734) 330-9671
Email: markdobronski@yahoo.com
PlaintiffIn Propria Persona


                                      COMPLAINT

       NOW COMES the Plaintiff, MARK W.DOBRONSKI,appearing in propria persona,

and for his complaint against Defendants alleges:

       1. This matter arises under the Telephone Consumer Protection Act of 1991("TCPA"),

47 U.S.C. § 227, et seq., the Michigan Telephone Companies as Common Carriers Act

("MTCCCA"), M.C.L. § 484.101, et seq., the Michigan Home Solicitation Sales Act

("MHSSA"),M.C.L.§ 445.101,etseq., and the Michigan Consumer Protection Act("MCPA"),

M.C.L. § 445.901, et seq.
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                                            Parties

       2. Plaintiff is an individual, of the age of majority, a citizen of the United States of

America, has a residence and conducts business in Lima Township, Washtenaw County,

Michigan, and has a place of business, and conducts business in the City of Westland, Wayne

County, Michigan.

       3. Upon information and belief, Defendant AT&T INC.("AT&T") is a corporation

organized and existing under the laws of the State of New York, which is qualified and

registered to do business in the State ofMichigan, with a registered office located at 40600 Ann

Arbor Road East, Suite 201,Plymouth, Michigan 48170-4675.

       4. Upon information and belief, Defendant DIRECTV, LLC ("DirecTv") is a limited

liability company organized and existing under the laws of the State of California, which is

qualified and registered to do business in the State of Michigan, with a registered office located

at 40600 Ann Arbor Road East, Suite 201,Plymouth, Michigan 48170-4675.

                                          Jurisdiction

       5. This Court has jurisdiction over the subject matter of this complaint pursuant to 47

U.S.C. § 227(b)(3), 47 U.S.C. § 227(c)(5), and M.C.L. § 600.601.

       6. This Court has general jurisdiction over Defendants AT&T and DirecTv pursuant to

M.C.L. § 600.711 as a result of each of the defendants carrying on of a continuous and

systematic part of its general business within the state.

       7. Alternatively,this Court has limited personaljurisdiction over Defendants AT&T and

DirectTV pursuant to M.C.L.§ 600.715 as a result of: the transaction ofany business within the

state; the doing or causing an act to be done, or consequences to occur, in the state resulting in

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an action for tort; the ownership,use,or possession ofreal or tangible personal property situated

within the state; entering into a contract for services to be rendered or for materials to be

furnished in the state by the defendant.

                                             Venue

       8. Venue is proper in this Court, pursuant to M.C.L.§ 600.1629(1)(b)(i), as the tortious

or illegal telephone calls complained of herein were received in Washtenaw County, Michigan.

                                      General Allegations

       9. In response to widespread public outrage over intrusive telemarketing calls to homes

and businesses, the United States Congress acted to prevent entities, like Defendants, from

invading American citizen's privacy and to prevent abusive "robo-calls" by enacting the TCPA.

       10. According to the Federal Communications Commission("FCC"),"Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls."

       11. Congress explicitly has found that robo-calling is an invasion of privacy.

       12. In regard to such telephone solicitations, Senator Hollings of South Carolina, the

primary sponsor of the bill, explained, "computerized calls are the scourge of modern

civilization. They wake us up in the morning; they interrupt our dinner at night; they force the

sick and elderly out of bed; they hound us until we want to rip the telephone right out of the

wall.., these computerized telephone calls threaten our personal safety... These machines are out

ofcontrol, and their use is growing by 30 percent every year. It is telephone terrorism, and it has

got to stop...." See In the Matter of Rules and Regulations Implementing the Telephone

ConsumerProtection Act of1991, 17 FCC Rcd. 17459, 17474,fn.90(2002),quoting 137 Cong.

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Rec. 30,821-30,822(Nov. 7, 1991).

       13. Congress found that telemarketing fraud has become a problem of such magnitude

that the resources of the Government alone are not sufficient to ensure adequate consumer

protection from such fraud; consumers and others are estimated to lose in excess of$40 billion

a year in telemarketing fraud; and consumers are victimized by other forms of telemarketing

deception and abuse.

       14. During the first nine months of2021 alone, over 38.6 billion robocalls were placed

nationwide, equaling approximatcly 117.9 calls per man, woman, and child. [Source:

www.robocallindex.com].

       15. In enacting the TCPA,Congress intentionally created a legally enforceable bounty

system, not unlike qui tam statutes, to incentivize the assistance of aggrieved private citizens to

act as "private attorneys general" in enforcing federal law.

       16. The TCPA,at 47 U.S.C. § 227(b)(1), promulgates in relevant part as follows:

              "Restrictions on use of automated telephone equipment

              (1) Prohibitions It shall be unlawful for any person within the
               United States, or any person outside the United States if the
              recipient is within the United States —.. .

              (B)to initiate any telephone call to any residential telephone
               line using an artificial or prerecorded voice to deliver a
               message without the prior express consent ofthe called party,
               unless the call is initiated for emergency purposes, is made solely
               pursuant to the collection of a debt owed to or guaranteed by the
               United States, or is exempted by rule or order by the Commission
               under paragraph (2)(B);".. . . [Emphasis added.]

       17. Pursuant to authority delegated by Congress to the FCC under the TCPA at47 U.S.C.

§ 227(b)(2), the FCC has adopted regulations to implement and carry out the TCPA.

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      18. The TCPA regulations, at 47 C.F.R. § 64.1200, promulgate in relevant part:

            "(a) No person or entity may: . . .

           (3)Initiate any telephone call to any residential line using an
            artificial or prerecorded voice to deliver a message without the
            prior express written consent ofthe called party,unless the call;

           (i) Is made for emergency purposes;

           (ii) Is not made for a commercial purpose;

           (iii) Is made for a commercial purpose but does not include or
            introduce an advertisement or constitute telemarketing;

           (iv) Is made by or on behalf of a tax-exempt nonprofit
            organization; or

           (v)Delivers a "health care" message made by, or on behalf of, a
           "covered entity" or its "business associate," as those terms are
            defined in the HIPAA Privacy Rule, 45 CFR 160.103. ..

           (b)All artificial or prerecorded voice telephone messages shall:

           (1)At the beginning ofthe message,state clearly the identity ofthe
            business,individual,or other entity that is responsible for initiating
            the call. Ifa business is responsible for initiating the call, the name
            under which the entity is registered to conduct business with the
            State Corporation Commission (or comparable regulatory
            authority) must be stated;

           (2)During or after the message,state clearly the telephone number
           (othcr than that of the autodialer or prerecorded message player
            that placed the call) of such business, other entity, or individual.
            The telephone number provided may not be a 900 number or any
            other number for which charges exceed local or long distance
            transmission charges. For telemarketing messages to residential
            telephone subscribers, such telephone number must permit any
            individual to make a do-not-call request during regular business
            hours for the duration of the telemarketing campaign; and

           (3) In every case where the artificial or prerecorded voice
            telephone message includes or introduces an advertisement or

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            constitutes telemarketing and is delivered to a residential telephone
            line or any of the lines or telephone numbers described in
            paragraphs(a)(1)(i)through(iii),provide an automated,interactive
            voice- and/or key press-activated opt-out mechanism for the called
            person to make a do-not-call request, including brief explanatory
            instructions on how to use such mechanism, within two (2)
            seconds of providing the identification information required in
            paragraph (b)(1) ofthis section...

           (d)No person or entity shall initiate any call for telemarketing
            purposes to a residential telephone subscriber unless such
            person or entity has instituted procedures for maintaining a list of
            persons who request not to receive telemarketing calls made by or
            on behalf of that person or entity. The procedures instituted must
            meet the following minimum standards:

           (1) Written policy. Persons or entities making calls for
            telemarketing purposes must have a written policy, available upon
            demand, for maintaining a do-not-call list.

           (2) Training of personnel engaged in telemarketing. Personnel
            engaged in any aspect of telemarketing must be informed and
            trained in the existence and use of the do-not-call list.

           (3) Recording, disclosure of do-not-call requests. If a person or
            entity making a call for telemarketing purposes (or on whose
            behalf such a call is made) receives a request from a residential
            telephone subscriber not to receive calls from that person or entity,
            the person or entity must record the request and place the
            subscriber's name, if provided, and telephone number on the
            do-not-call list at the time the request is made. Persons or entities
            making calls for telemarketing purposes(or on whose behalf
            such calls are made) must honor a residential subscriber's
            do-not-call request within a reasonable time from the date such
            request is made. This period may not exceed thirty days from the
            date ofsuch request.Ifsuch requests are recorded or maintained by
            a party other than the person or entity on whose behalf the
            telemarketing call is made, the person or entity on whose behalf
            the telemarketing call is made will be liable for any failures to
            honor the do-not-call request. A person or entity making a call for
            telemarketing purposes must obtain a consumer's prior express
            permission to share or forward the consumer's request not to be
            called to a party other than the person or entity on whose behalf a

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              telemarketing call is made or an affiliated entity.

             (4)Identification of sellers and telemarketers. A person or entity
              making a call for telemarketing purposes must provide the called
              party with the name ofthe individual caller,the name ofthe person
              or entity on whose behalf the call is being made, and a telephone
              number or address at which the person or entity may be
              contacted..."[Emphasis added.]

        19. The TCPA regulations at, 47 C.F.R. § 64.1601, additionally promulgate in relevant

part:

              "(e)Any person or entity that engages in telemarketing, as defined
              in section 64.1200(f)(10) must transmit caller identification
              information.

             (1) For purposes of this paragraph, caller identification
              information must include either CPN or AM, and, when
              available by the telemarketer's carrier, the name of the
              telemarketer. It shall not be a violation of this paragraph to
             substitute (for the name and phone number used in, or billed for,
              making the call) the name of the seller on behalf of which the
              telemarketing call is placed and the seller's customer service
              telephone number. The telephone number so provided must
              permit any individual to make a do-not-call request during
              regular business hours.

             (2)Any person or entity that engages in telemarketing is prohibited
              from blocking the transmission of caller identification
              information." [Emphasis added.]

        20. The TCPA, at 47 U.S.C. § 227(b)(3), provides for a private right of action, as

follows:

              "PRIVATE RIGHT OF ACTION. A person or entity may, if
              otherwise permitted by the laws or rules of court of a State, bring
              in an appropriate court ofthat State —

             (A) an action based on a violation of this subsection or the
              regulations prescribed under this subsection to enjoin such
              violation,

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              (B) an action to recover for actual monetary loss from such a
              violation, or to receive $500 in damages for each such violation,
              whichever is greater, or

             (C)both such actions.

              Ifthe court finds that the defendant willfully or knowingly violated
              this subsection or the regulations prescribed under this subsection,
              the court may,in its discretion, increase the amount of the award
              to an amount equal to not more than 3 times the amount available
              under subparagraph(B)ofthis paragraph."[Emphasis added.]

       21. Pursuant to Congressional mandate set forth at 47 U.S.C. § 227(c)(1), the FCC

adopted regulations establishing a national "do not call" database and prohibiting any person

from making or transmitting a telephone solicitation to the telephone number ofany subscriber

included in such database, which regulations are set forth at 47 C.F.R. § 64.1200(c), and

promulgate in relevant part:

              "No person or entity shall initiate any telephone solicitation to: .


              "(2) A residential telephone subscriber who has registered his or
              her telephone number on the national do-not-call registry of
              persons who do not wish to receive telephone solicitations that is
              maintained by the Federal Government

       22. Additionally, the TCPA,at 47 U.S.C. § 227(c)(5), as it relates to telephone numbers

appearing ofthe do-not-call list, provides for a private right of action, as follows:

              "Private right ofaction. A person who has received more than one
              telephone call within any 12-month period by or on behalf of the
              same entity in violation of the regulations prescribed under this
              subsection may,ifotherwise permitted by the laws or rules ofcourt
              of a State bring in an appropriate court ofthat State—

              (A)an action based on a violation of the regulations prescribed
              under this subsection to enjoin such violation,


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            (B) an action to recover for actual monetary loss from such a
            violation, or to receive up to $500 in damages for each such
            violation, whichever is greater, or

           (C) both such actions.

            It shall be an affirmative defense in any action brought under this
            paragraph that the defendant has established and implemented,
            with due care, reasonable practices and procedures to effectively
            prevent telephone solicitations in violation of the regulations
            prescribed under this subsection. If the court finds that the
            defendant willfully or knowingly violated the regulations
            prescribed under this subsection, the court may, in its discretion,
            increase the amount of the award to an amount equal to not more
            than 3 times the amount available under subparagraph(B)of this
            paragraph."

      23. The MTCCCA,at M.C.L. § 484.125, promulgates in relevant part as follows:

            "A caller shall not use a telephone line to contact a subscriber at
            the subscriber's residence,business,or toll-free telephone number
            to do []the following: ...

           (2)A caller shall not use a telephone line to contact a subscriber at
            the subscriber's residence, business, or toll-free telephone number
            to do either of the following:

           (a) Deliver a recorded message for the purpose of presenting
            commercial advertising to the subscriber, unless either of the
           following occurs:

           (i) The subscriber has knowingly and voluntarily requested,
            consented, permitted, or authorized the contact from the caller.

           (ii) The subscriber has knowingly and voluntarily provided his or
            her telephone number to the caller.

           (b)Deliver or attempt to deliver intrastate commercial advertising
            if the caller activates a feature to block the display of caller
            identification information that would otherwise be available to the
            subscriber...

           (5)A subscriber contacted by a caller in violation of this section

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            may bring an action to recover damages of $1,000.00, together
            with reasonable attorneys' fees...

           (9)A caller who violates this section is guilty of a misdemeanor,
            punishable by a fine of$1,000.00 or imprisonment for 10 days, or
            both."

      24. The MHSSA,at M.C.L. § 445.111a(5), promulgates:

            ".. . A telephone solicitor shall not make a telephone solicitation
            to a residential telephone subscriber whose name and residential
            telephone number is on the then-current version ofthe federal[do-
            not-call] list."

      25. The MHSSA,at M.C.L. § 445.111b, promulgates in relevant part:

            "(1)At the beginning ofa telephone solicitation, a person making
            a telephone solicitation to a residential telephone subscriber shall
            state his or her name and the full name ofthe organization or other
            person on whose behalf the call was initiated and provide a
            telephone number ofthe organization or other person on request.
            A natural person must be available to answer the telephone number
            at any time when telephone solicitations are being made..."

      26. The MHSSA,at M.C.L. § 445.111c, promulgates in relevant part as follows:

            "(1) It is an unfair or deceptive act or practice and a violation of
            this act for a telephone solicitor to do any of the following:...

           (f) Fail to comply with the requirements of section la or lb.

           (2) ... [A] person who knowingly or intentionally violates this
            section is guilty ofa misdemeanor punishable by imprisonment for
            not more than 6 months or a fine of not more than $500.00, or
            both.

           (3)A person who suffers loss as a result ofviolation ofthis section
            may bring an action to recover actual damages or $250.00,
            whichever is greater, together with reasonable attorney fees."

      27. The MCPA,at M.C.L. § 445.903, promulgates in relevant part as follows:

              (1) Unfair, unconscionable, or deceptive methods, acts, or

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                practices in the conduct oftrade or commerce are unlawful and are
                defined as follows: ...

               (b) Using deceptive representations or deceptive designations of
                geographic origin in connection with goods or services...

               (i) Making false or misleading statements of fact concerning the
                reasons for, existence of, or amounts of price reductions...

               (w)Representing that a consumer will receive a rebate, discount,
                or other benefit as an inducement for entering into a transaction,if
                the benefit is contingent on an event to occur subsequent to the
                consummation ofthe transaction...."

       28. The MCPA,at M.C.L. § 445.911, provides for a private right of action, as follows:

                "(1) Whether or not a person seeks damages or has an adequate
                remedy at law,a person may bring an action to do either or both of
                the following:

               (a)Obtain a declaratoryjudgment that a method, act, or practice is
                unlawful under section 3.

               (b)Enjoin in accordance with the principles ofequity a person who
                is engaging or is about to engage in a method, act, or practice that
                is unlawful under section 3.

               (2)Except in a class action or as otherwise provided in subsection
               (3), a person who suffers loss as a result of a violation of this act
                may bring an action to recover actual damages or $250.00,
                whichever is greater, together with reasonable attorney fees...."

       29. Plaintiffs residential telephone number(734-)00C-2424) is listed on the National

Do Not Call Registry maintained by the U.S. Federal Trade Commission pursuant to 16 C.F.R.

Part 310 and has been so listed continuously since at least June 29,2003 and at all times relevant

hereto.

          30. By listing his cellular telephone number on the National Do Not Call Registry,

Plaintiffhas given constructive notice to the world,including Defendants,that Plaintiffdoes not

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 wish to receive telephone solicitations or robocalls at his cellular telephone number.

        31. Additionally,Plaintiffhas expressly made formal requests to Defendants AT&T and

DirecTv on prior occasions, including on February 11, 2021, that Defendants place, inter alia,

Plaintiffs residential telephone number(734-XXX-2424)upon Defendants'internal do-not-call

lists, which Defendants are required to maintain and honor pursuant to 47 C.F.R.§ 64.1200(d)(3)

and 16 C.F.R. § 310.4(D)(3)(iii).

        32. The FCC has issued a declaratory ruling defining "called party" as "the subscriber,

i.e., the consumer assigned the telephone number dialed and billed for the call, or the

non-subscriber customary user of a telephone number included in a family or business calling

plan."In the Matter ofRules & Regulations Implementing the Tel. Consumer Prot. Act of1991,

CG Docket No. 02-278, WC Docket No. 07-135,FCC 15-72,2015 WL 4387780, at *26 'II 73

(FCC July 10, 2015).

        33. At no time relevant hereto has Plaintiff or any other authorized person requested,

consented, permitted, or authorized the contact from the Defendants.

        34. At no time has Plaintiff provided permission to the Defendants to engage in

telephone solicitation with the Plaintiff via telephone.

        34. At no time has Plaintiff provided Defendants with prior express written consent to

 engage in telephone solicitation with the Plaintiff via telephone.

        35. Pursuant to 47 U.S.C. § 217, the act, omission, or failure of any officer, agent, or

 other person acting for or employed by an common carrier or user, acting within the scope ofhis

 employment,shall in every case also be deemed to be the act,omission,or failure ofsuch carrier

 or user as well as that of the person.

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       36. Courts are legally bound to give great deference to the FCC's interpretations ofthe

TCPA and its own regulations.

       37. The FCC has clarified that sellers may be held vicariously liable for violations ofthe

TCPA by third-party telemarketers that initiate calls to market the seller's products or services,

declaring as follows:

              "[A] company on whose behalf a telephone solicitation is made
              bears the responsibility for any violation ofour telemarketing rules
              and calls placed by a third party on behalf of that company are
              treated as if the company itself placed the call."

In re Rules and Regulations Implementing the Telephone Consumer Protection Act of1991,

Declaratory Ruling, 20 FCC Rcd 13664, 13667,¶ 7(2005).

       38. When considering individual corporate officer liability,other Courts have agreed that

a corporate officer involved in the telemarketing at issue may be personally liable under the

TCPA. See, e.g., Jackson Five Star Catering, Inc. v. Beason, No. 10-10010, 2013 U.S. Dist.

LEXIS 155985,*10(E.D. Mich. Nov.8,2013)("[M]any courts have held that corporate actors

can be individually liable for violating the TCPA where they had direct, personal participating

in or personally authorized the conduct found to have violated the statute.")(internal citation

omitted); Maryland v. Universal Elections, 787 F. Supp. 2d 408,415-16(D.MD.2011)("If an

individual acting on behalf of a corporation could avoid individual liability, the TCPA would

lose much of its force.").

       39. For each and every call alleged herein initiated to Plaintiff's telephone line, Plaintiff

suffered the injury of invasion of privacy and intrusion on Plaintiff's right of seclusion.

       40. For each and every call alleged herein initiated to Plaintiff's telephone line,Plaintiff


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suffered the injury ofthe occupation ofthe telephone line by unwelcome calls, making the phone

unavailable for legitimate callers or outgoing calls, including emergency calls, when the

telephone line was seized by Defendants' calls.

       41. For each and every call alleged herein initiated to Plaintiffs telephone line,

Defendants caused an injury in the form ofa nuisance and annoyance to the Plaintiff. For calls

that were answered, Plaintiff had to go to the unnecessary trouble ofanswering them. Even for

unanswered calls, Plaintiffhad to deal with missed call notifications and call logs that reflected

the unwanted calls. This also impaired the usefulness ofthese features on Plaintiff's telephone,

which features are designed to inform the user of important missed communications.

       42. Each and every call alleged herein placed by Defendants without consent to

Plaintiffs telephone line resulted in the injury of a trespass to Plaintiff's chattel, namely

Plaintiffs telephone line and its telephone services.

       43. For purposes ofthe TCPA,the FCC has defined "willfully or knowingly" to mean

that the violator knew that he was doing the act in question, in this case, initiating a telephone

solicitation, irrespective of any intent to violate the law. A violator need not know that his

action or inaction constitutes a violation; ignorance of the law is not a defense or mitigating

circumstance.

       44. Defendants are fully cognizant ofthe fact that illegal robocalls were being placed to

consumers hawking Defendants's products and/or services, as Defendants has been sued

numerous times in federal and state courts across the United States, yet Defendants apparently

took no action to curtail the illegal telemarketing activities.

       45. Defendants have been previously fined $5.3 million(which amount was subsequently

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negotiated down to $3.21 million) by the U.S. Federal Trade Commission for violating federal

"do not call" regulations; at the time, the action was noted as being the largest civil fine ever

imposed by the FTC for a violation of consumer protection laws.

         46. To the extent that the illegal telemarketing activities are being initiated by third-party

telemarketers hired by Defendants to hawk Defendants' products and/or services, Defendants

have ratified said conduct by accepting the fruits and benefits of said illegal telemarketing

activities; to wit, additional revenue-generating customers.

         47. At all times, Defendants had the ability to control its telemarketing activities,

including curtailing said telemarketing activities, but Defendants apparently took no action to

do so.

         48. Plaintiff's home, office, and wireless telephone lines have been besieged with

telemarketing calls hawking such things as alarm systems, automobile warranties, health

insurance, life insurance, credit cards, and even financial miracles from God. Some ofthe calls

received by Plaintiff are blatant scams,including, inter alia, calls purportedly from the Internal

Revenue Service advising that arrest warrants have been issued against Plaintiff; calls advising

that Plaintiffhas won a"free"Caribbean resort vacation; and,calls advising that Plaintiff's credit

card interest rate is being lowered to zero percent.

                                 Allegations Specific to this Case

                                           Call Number 1

         49. On March 26,2021,at approximately 12:14 P.M.,Defendants or Defendants's third-

party telemarketer initiated or caused to be initiated a call to Plaintiff's residential telephone

number(734-XXX-2424).

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       50. The caller identification number displayed was 734-354-2227 and no caller

identification name was displayed.

       51. Upon answering the incoming telephone call, a live telernarketer identified herself

as being Sarah with AT&T/DirecTV.

       52. Sarah was calling regarding a $40.00 discount or rebate to be applied to Plaintiff's

DirecTv account and was seeking Plaintiffs account number information.

       53. Plaintiff does not have, and never has had, any account with DirecTv.

       54.Immediately after the call terminated,Plaintiffdialed the telephone number appearing

on the caller identification (734-254-2227) and received a recording stating "the number you

have called is not in service."

                                        Call Number 2

       55. On March 29,2021, at approximately 9:25 A.M.,Defendants or Defendants's third-

party telemarketer initiated or caused to be initiated a call to Plaintiffs residential telephone

number(734-XXX-2424).

       50. The caller identification number displayed was 734-479-3407, and the caller

identification name displayed was"WYANDOTTE MI".

       51. Upon answering the incoming telephone call, a live telemarketer identified herself

as being Sarah with AT&T/DirecTV.

       52. Sarah was calling again regarding a $40.00 discount or rebate to be applied to

Plaintiffs DirecTv account and was seeking Plaintiffs account number information.

       53.Immediately after the call terminated,Plaintiffdialed the telephone number appearing

on the caller identification (734-479-3407) which was answered electronically by a recording

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stating "This is David Wallace with Huron Valley Steel. Please leave a message."

                                        Call Number 3

       54. On June 9,2021,at approximately 5:22 P.M.,Defendants or Defendants's third-party

telemarketer initiated or caused to be initiated a call to Plaintiffs residential telephone number

(734-XXX-2424).

       55. The caller identification number displayed was 844-814-3900, and the caller

identification name displayed was V60923225400010.

       56. Upon answering the incoming telephone call, Plaintiff observed that there were 4-5

seconds of silence after Plaintiff said "hello" before a prerecorded message began playing

stating:

              "Hi there. This is Sidney(ph)calling you from AT&T DirecTV.
              How are you doing today? Oh, glad to hear that. Well, DirecTV
              is offering 50% discounts to all ofits existing customers. Do you
              have a minute to speak to I can apply the discount on your
              account?"

       57. The automated recording then began seeking customer specific information from

Plaintiff regarding Plaintiffs DirecTv account and account number information.

       58.Immediately after the call terminated,Plaintiffdialed the telephone number appearing

on the caller identification (844-814-3900) which was answered electronically by a recording

stating "Thank you for calling Viasat. For new service for your home, press '1'."

                                        Call Number 4

       59. On September 10,2021, at approximately 11:33 A.M.,Defendants or Defendants's

third-party telemarketer initiated or caused to be initiated a call to Plaintiffs residential

telephone number(734-XX*-2424).

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       60. The caller identification number displayed was 734-338-7390, and the caller

identification name displayed was"MARKETPLACE HOME".

       61. Upon answering the incoming telephone call, Plaintiffobserved that there were 4-5

seconds of silence after Plaintiff said "hello" before a prerecorded message began playing

stating:

              "This is a courtesy call for Spectrum, AT&T and DirecTv
              customers. We are running a promotion to help our customers
              lower down their bill. If you are looking to lower down your bill,
              press '1' and speak to our promotion department. Thank you."

       62. To better identify the caller, and for the purpose of making a "do not call" demand,

Plaintiff pressed 1', at which point the call disconnected.

       63. Immediately after the call terminated, Plaintiff dialed the telephone number

appearing on the caller identification (734-338-7390) and received a recording stating the

number dialed was not a valid telephone number.

                                        Call Number 5

       64. On October 5,2021,at approximately 4:54 P.M.,Defendants or Defendants's third-

party telemarketer initiated or caused to be initiated a call to Plaintiff's residential telephone

number(734-XXX-2424).

       65. The caller identification number displayed was 734-420-1831, and the caller

identification name displayed was"SRZ NORTHVILLE".

       66. Upon answering the incoming telephone call, Plaintiff observed that there were 4-5

seconds of silence after Plaintiff said "hello" before a prerecorded message began playing

stating:

              "This is a courtesy call for Spectrum customers. To discuss your

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               monthly bill, please press '1' to talk to a representative."

       67. To better identify the caller, Plaintiff pressed '1' and was immediately connected to

a live telemarketer who answered stating "This is Alex. How may I help you?"; Alex did not

identify with any company name.

       68. Alex inquired whether Plaintiff had Spectrum telephone, television, or Internet

       services.

       69. Alex then began soliciting Plaintiff by offering reduced pricing through "Viasat

DirecTv service," explaining that telephone and Internet service would be provided by Viasat,

and television service would be provided by DirecTv.

       70. At some point in the call, the caller changed to an individual who identified himself

as "Mike Wilson".

       71. The callers knew Plaintiff's name and address(and,obviously,Plaintiff's residential

telephone number), but sought personal identifying information from Plaintiff to "verify"

identity.

       72. Plaintiff supplied the callers with controlled personal identifying information,

including a false birth date,false drivers license number,false license expiration date,and a trap

e-mail address; an investigative technique known as a "canary trap."

       73. The callers requested Plaintiffs credit card number for the $20 one-time activation

fee. Plaintiff provided a controlled credit card number,

       74. Immediately after the call terminated, Plaintiff dialed the telephone number

appearing on the caller identification (734-420-1831) and received an answering maching for

Nash Oldstein,the maintenance services coordinator for Senior Sunrise Living,a senior assisted

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care facility located in Northville, Michigan.

       75. On October 5, 2021, at approximately 5:29 P.M., a $19.95 charge transaction was

attempted on Plaintiff's controlled credit card number, with the merchant being identified as

"AT&T 800-288-2020."

                                        Call Number 6

       76. On October 5, 2021,at approximately 6:20 P.M.,Defendants or Defendants's third-

party telemarketer initiated or caused to be initiated a call to Plaintiff's residential telephone

number(734-XXX-2424).

       77. The caller identification number displayed was 201-596-8882, and the caller

identification name displayed was"HASBRCK HTS NJ".

       78. Upon answering the incoming telephone call, the caller identified himself as"Mike

Wilson" with DirecTv. "Mike" explained that there were have some technical issues with their

online portal and needed to reverify some information with Plaintiff. Plaintiffverified the same

controlled information which Plaintiff provided during Call Number 5, supra.

       79. "Mike" then stated that the earlier credit card payment had been declined. Plaintiff

stated that he would call his financial institution to ascertain why.

       80. Immediately after the call terminated, Plaintiff dialed the telephone number

appearing on the caller identification (201-596-8882) and received a recording that the dialed

telephone number was not a working number.

                                        Additional Calls

       81. Upon information and belief, Plaintiff has received additional telephone calls from

Defendants which, when answered, disconnected or were terminated before Plaintiff could

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develop identifying information, which telephone calls Defendants are well aware ofthe dates

and times. Plaintiffreserves the right, prior to close offact discovery, to amend this complaint

to include all-additional such telephone calls which are discovered. -

                                   COUNT I
                       VIOLATION OF THE TCPA - ROBOCALL

       82. Plaintiff incorporates the allegations of paragraphs 1 through 81, supra.

       83. The telephone calls alleged and identified as Call Numbers 3,4, and 5,supra, were

in violation ofthe TCPA,specifically 47 U.S.C. § 227(b)(1)(B) and 47 C.F.R. § 64.1200(a)(3),

as Defendants or Defendants's agent initiated a telephone call using an artificial or prerecorded

voice to a residential telephone line to deliver a message without the prior express consent ofthe

called party and there being no emergency purpose.

       84. Defendants knew they did not have prior express consent to make the call, inasmuch

as the artificial or prerecorded voice message was a generic message and not addressed

specifically to the called party; therefore, the aforesaid violation ofthe TCPA was wilful and/or

knowing.

                                 COUNT II
                VIOLATION OF THE TCPA - FAILURE TO IDENTIFY

       85. Plaintiff incorporates the allegations of paragraphs 1 through 86, supra.

       86. The telephones call alleged and identified as Call Number 4 and 5, supra, were in

violation ofthe TCPA implementing regulations, specifically 47 C.F.R. § 64.1200(a)(7)(i)(A)

and 47 C.F.R. § 64.1200(b)(1), as the artificial or prerecorded voice message did not, at the

beginning ofthe message,state clearly the identity ofthe business,individual,or other entity that

was responsible for initiating the call.

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       87. The Defendants knew that their artificial or prerecorded voice message did not

identify the party responsible for initiating the call,therefore the aforesaid violation ofthe TCPA

was wilful and/or knowing.

                             COUNT III
  VIOLATION OF THE TCPA - FAILURE TO PROVIDE TELEPHONE NUMBER

       88. Plaintiff incorporates the allegations of paragraphs 1 through 87, supra.

       89. The telephone calls alleged and identified as Call Numbers 3, 4, and 5, supra, were

in violation ofthe TCPA implementing regulations,specifically 47 C.F.R. § 64.1200(a)(7)(i)(A)

and 47 C.F.R. § 64.1200(b)(2), as the artificial or prerecorded voice message did not, during or

after the message, state clearly the telephone number ofsuch business or entity.

       90. Defendants knew that their artificial or prerecorded voice message did not provide

the telephone number, and thus, these violations of the TCPA were wilful and/or knowing.

                              COUNT IV
          VIOLATION OF THE TCPA - FAILURE TO PROVIDE OPT OUT

       91. Plaintiff incorporates the allegations of paragraphs 1 through 90, supra.

       92. The telephone calls alleged and identified as Call Numbers 4, 5, and 6,supra, were

in violation ofthe TCPA implementing regulations,specifically 47 C.F.R.§ 64.1200(a)(7)(i)(B)

and 47 C.F.R.§ 64.1200(b)(3), as the artificial or prerecorded voice message did not provide an

automated,interactive voice- and/or key press-activated opt-out mechanism for the called person

to make a do-not-call request.

       93. Defendants deliberately did not and knew that their artificial or prerecorded voice

message did not provide such an opt-out mechanism, therefore the aforesaid violations ofthe

TCPA were wilful and/or knowing.

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                                 COUNT V
             VIOLATION OF THE TCPA - DO NOT CALL(INTERNAL LIST)

          94. Plaintiff incorporates the allegations of paragraphs 1 through 93, supra.

          95. The telephone calls alleged and identified as Call Numbers 1, 2, 3,4,5 and 6,supra,

 were in violation of the TCPA, specifically 47 C.F.R. § 64.1200(d)(3), as Defendants or

 Defendants's made a call for telemarketing purposes to Plaintiff's residential telephone number

(734-XXX-2424)despite the fact that Plaintiffhad expressly requested that Plaintiffnot receive

 calls from Defendants.

          96. The aforesaid violations of the TCPA were wilful and/or knowing as is evidenced

 by the repetitious calls.

                                   COUNT VI ,
                    VIOLATION OF THE TCPA - INVALID CALLER ID

          97. Plaintiff incorporates the allegations of paragraphs 1 through 96, supra.

          98. The telephone calls alleged and identified as Call Numbers 1, 2, 3,4,5 and 6,supra,

 were in violation of the TCPA, specifically 47 C.F.R. § 64.1601(e)(1), as Defendants or

Defendants's agent failed to provide caller identification information displaying a telephone

 number which would permit any individual to make a do-not-call request during regular business

 hours.

          99. Defendants had to take deliberate and overt action to manipulate the caller

 identification information to provide false information,therefore the aforesaid violations ofthe

TCPA were wilful and/or knowing.

                                  COUNT VII
          VIOLATION OF THE TCPA - DO NOT CALL(NATIONAL REGISTRY)


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       100. Plaintiff incorporates the allegations of paragraphs 1 through 99, supra.

       101. The telephone calls alleged and identified as Call Numbers 1,2,3,4,5 and 6,supra,

were in violation of the TCPA, specifically 47 C.F.R. § 64.1200(c)(2), as Defendants or

Defendants's agent initiated a telephone solicitation to a residential telephone subscriber who

has registered his or her telephone number on the national do-not-call registry of persons who

do not wish to received telephone solicitations that is maintained by the Federal Government.

       102. Defendants knew that Plaintiff's residential telephone number was on both the

National Do Not Call Registry as well as Defendants' internal do-not-call list, yet initiated the

clandestinely,using spoofed caller identification,initiated the telephone calls,thus evidence that

the violation was wilful and/or knowing.

                                     COUNT VIII
                              VIOLATION OF THE MTCCCA

       103. Plaintiffincorporates the allegations of paragraphs 1 through 102, supra.

       104. The telephone calls alleged and identified as Call Numbers 1, 2, 3, 4, 5, and 6,

supra, were in violation of the MTCCCA,specifically M.C.L. § 484.125(2), as Defendants or

Defendants's agent used a telephone line to deliver a recorded message for the purpose of

presenting commercial advertising to the subscriber and without the subscriber having

knowingly and voluntarily requested, consented, permitted, or authorized the contact from the

caller or without the subscriber having knowingly and voluntarily provided his or her telephone

number to the caller, or alternatively, Dedendants or Defendants' agent used a telephone line to

contact a subscriber at the subscriber's residence to deliver or attempt to deliver instrastate

commercial advertising with the caller having activated a feature to block the display of caller


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identification information that would otherwise be available to the subscriber.

                                     COUNT ix
                              VIOLATION OF THE MHSSA

       105. Plaintiff incorporates the allegations of paragraphs 1 through 104, supra.

       106. The telephone calls alleged and identified as Call Numbers 1, 2, 3, 4, 5, and 6,

supra, were in violation of the MHSSA,specifically M.C.L. § 445.111a(5), as Defendants or

Defendants's agent made a telephone solicitation to a residential telephone subscriber whose

name and residential telephone number is on the federal do-not-call list; M.C.L.§ 445.111b(1),

and/or Defendants or Defendants's agent did not at the beginning of the telephone solicitation

state his or her name and the full name ofthe organization on whose behalfthe call was initiated.

                                      COUNT X
                               VIOLATION OF THE MCPA

       107. Plaintiff incorporates the allegations of paragraphs 1 through 106, supra.

       108. The telephone calls alleged and identified as Call Numbers 1, 2, 3, 4, 5, and 6,

supra, were each in violation of the MCPA,specifically M.C.L. § 445.903, as Defendants or

Defendants's agent made deceptive representations as to the identify of the calling party; used

deceptive representations as to the source, sponsorship, approval, or certification of good or

services; and/or made false or misleading statements offact concerning the reasons for,existence

of, or amounts of price reductions.

                                  PRAYER FOR RELIEF

       WHEREFORE,the aforesaid premises considered, Plaintiff prays that this Court enter

a judgment for Plaintiff and against the Defendants,jointly and severally, as follows:

       A.      1. As to Count I: Damages in the amount of $500.00 for each of the 3 TCPA

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violations alleged, for damages of $1,500.00, which amount shall be trebled because the

violations were wilful or knowing; for total damages of $4,500.00.

              2. As to Count II: Damages in the amount of $500.00 for the TCPA violation

alleged, which amount shall be trebled because the violations were wilful or knowing;for total

damages of $1,500.00.

              3. As to Count III: Damages in the amount of$500.00 for each ofthe 3 TCPA

violation alleged, for damages of $1,500.00, which amount shall be trebled because the

violations were wilful or knowing; for total damages of $4,500.00.

              4. As to Count IV: Damages in the amount of$500.00 for each ofthe3 TCPA

violation alleged, for damages of $1,500.00, which amount shall be trebled because the

violations were wilful or knowing; for total damages of $4,500.00.

              5. As to Count V: Damages in the amount of$500.00 for the 6 TCPA violation

alleged, for damages of $3,000.00, which amount shall be trebled because the violations were

wilful or knowing; for total damages of $9,000.00.

              6. As to Count W:Damages in the amount of$500.00 for the 6 TCPA violation

alleged, for damages of $3,000.00, which amount shall be trebled because the violations were

wilful or knowing; for total damages of $9,000.00.

              7. As to Count VII: Damages in the amount of$500.00 for the 6 TCPA violation

alleged, for damages of $3,000.00, which amount shall be trebled because the violations were

wilful or knowing; for total damages of $9,000.00.

              8. As to Count VIII: Damages in the amount of $1,000.00 for each of the 6

MTCCCA violations alleged, for total damages of $6,000.00.

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              9. As to Count IX: Damages in the amount of$250.00 for each ofthe 6 MHSSA

violations alleged, for total damages of$1,500.00.

               10. As to Count X: Damages in the amount of$250.00 for each of the 6 MCPA

violation alleged, for total damages of $1,500.00.

       The cumulative total amount ofdamages claimed in this action is $51,000.00, and in the

event of default judgment is the sum certain that will be sought.

       B. An award of Plaintiff's taxable costs and disbursements incurred in the filing and

prosecution of this action;

       C. Interest accruing from the date of filing until paid at the statutory rate;

       D An injunction enjoining Defendants from initiating any telephone calls to Plaintiff's

residential telephone line;

       E. A declaratoryjudgment that the complained ofacts ofDefendants are unlawful; and,

       F. Such other and further relief as this Court deems necessary, reasonable, prudent and

proper under the circumstances.

                                                     Respectfully submitted,

                                                      961.0.04,16—,441,
Dated: October 7, 2021
                                                     Mark W. Dobronski
                                                     Post Office Box 85547
                                                     Westland, Michigan 48185-0547
                                                     Telephone:(734) 330-9671
                                                     Email: markdobronski@yahoo.com
                                                     PlaintiffIn Propria Persona




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                                       VERIFICATION


State of Michigan
                             )ss;
County of Washtenaw


       MARK W.DOBRONSKI, being first duly sworn, does depose at state, as follows:

       1. I am the Plaintiffin the foregoing matter, ofthe age ofmajority, and I have direct and
personal knowledge ofthe facts in dispute.

        2. I have read the Complaint in the foregoing matter, and I know the contents thereof
The matters stated in the Complaint are true in substance and in fact, except as to those matters
stated to be upon information and belief, and as to those matters I believe them to be true.

      3. If sworn as a witness, affiant can testify competently to the facts as set forth in the
Complaint.

       Further, affiant sayeth naught.



                                                    0,6•Le          cy-K3c.15-•ax,4_•.„,.‘9.
                                                     Mark W.Dobronski


Subscribed and sworn to before me
this 7th day of October, 2021.




          Rebecca J Ardrey
   Notary Public - State of Michigan
          County of Jackson
   My CoMmlinion Expires 10/25/2026




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  Exhibit B
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                IN THE CIRCUIT COURT FOR THE 22ND JUDICIAL DISTRICT
                FOR THE STATE OF MICHIGAN, COUNTY OF WASHTENAW

Mark W. Dobronski                             )
                                              )
          Plaintiff,                          )
                                              )         Case No. 21-001075-NZ
vs.                                           )         The Honorable Carol Kuhnke
                                              )
AT&T Corp. and DIRECTV, LLC,                  )
                                              )
          Defendants.                         )

TO:       Clerk of the Court

TO:       Mark W. Dobronski
          P.O. Box. 85547
          Westland, MI 48185-0547
          Tel: 734-330-9671
          Email: markdobronski@yahoo.com

          PLEASE TAKE NOTICE that on October 28, 2021, Defendants AT&T Corp. and

DIRECTV, LLC filed a Notice of Removal, removing this action from this Court to the United

States District Court for the Eastern District of Michigan. A true and correct copy of the Notice of

Removal, with attachments, is attached hereto as Exhibit A.

Dated: October 28, 2021                               Respectfully submitted,



                                                      By: /s/ Roger P. Meyers
                                                      BUSH SEYFERTH PLLC
                                                      Roger P Meyers (P73255)
                                                      100 W. Big Beaver Rd. Suite 400
                                                      Troy, Michigan 48084
                                                      (248) 822-7800

                                                      Counsel for Defendants




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                                  CERTIFICATE OF SERVICE

          I, Roger P. Meyers, certify that on October 28, 2021, I caused a copy of the foregoing to

be served upon the following by email and U.S. mail:


          Mark W. Dobronski
          P.O. Box. 85547
          Westland, MI 48185-0547
          Tel: 734-330-9671
          Email: markdobronski@yahoo.com


                                                              /s/ Roger P. Meyers




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